                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.744 Filed 11/09/21 Page 1 of 39




                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                        EASTERN DISTRICT OF MICHIGAN
                                                                                                                                             SOUTHERN DIVISON


                                                                                                                    STATE FARM MUTUAL AUTOMOBILE
                                                                                                                    INSURANCE COMPANY,

                                                                                                                          Plaintiff,

                                                                                                                    v.                                             Case No. 2:21-cv-11940
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    SAM HAKKI, M.D. A/K/A SAM
                                                                                                                    HACKETTE, STAR PAIN MANAGEMENT                 Hon. Denise P. Hood
                                                                                                                    & REHAB LLC, NEXTGEN PAIN                      United States District Judge
                                                                                                                    ASSOCIATES & REHABILITATION LLC,
AT LAW GROUP, PLLC




                                                                                                                    ADVANCED CENTRAL LABORATORY,
                                                                                                                    LLC, MIDWEST MEDICAL LAB LLC,
                     ATTORNEYS & COUNSELORS




                                                                                                                    FUTURE DIAGNOSTIC CENTER LLC,
                                                                                                                    NABIL BEYDOUN A/K/A NABIL
                                                                                                                    BAYDOUN A/K/A BILL BAYDOUN,
                                                                                                                    ABDUL BEYDOUN A/K/A ABDUL
                                                                                                                    BAYDOUN A/K/A ABE BAYDOUN,
                                                                                                                    FOUAD BEYDOUN A/K/A FOUAD
                                                                                                                    BAYDOUN A/K/A FRANK BAYDOUN,
                                                                                                                    ANWAR BAKER,MUNA AFAN,
                                                                                                                    MOHAMED EL-FAKHARANY, M.D.,
                                                                                                                    RIAD GEORGE KHOURY, M.D.,
                                                                                                                    VINOD SHARMA, M.D. and
                                                                                                                    HORST GRIESSER, M.D.,

                                                                                                                          Defendants.

                                                                                                                    ____________________________________________/
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.745 Filed 11/09/21 Page 2 of 39




                                                                                                                         DEFENDANT MIDWEST MEDICAL LAB LLC’SANSWER TO
                                                                                                                       COMPLAINT, AFFIRMATIVE DEFENSES, AND RELIANCE UPON
                                                                                                                                         JURY DEMAND

                                                                                                                            NOW COMES Defendant MIDWEST MEDICAL LAB LLC (the

                                                                                                                    “Defendant”), by and through its attorneys, AT LAW GROUP, PLLC, specifically

                                                                                                                    by Dewnya A. Bazzi, and for its Answer to Plaintiff’s Complaint states as follows:

                                                                                                                       I.     NATURE OF THE ACTION
                                                                                                                                1.     Denied.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                2.     Denied.

                                                                                                                                3.     Denied.
AT LAW GROUP, PLLC




                                                                                                                                4.     Denied.
                     ATTORNEYS & COUNSELORS




                                                                                                                                5.     Denied.

                                                                                                                                6.     Denied.

                                                                                                                                7.     Denied.

                                                                                                                                8.     Denied.

                                                                                                                                9.     Denied.

                                                                                                                                10.    Denied.

                                                                                                                                11.    Denied.

                                                                                                                                12.    Denied.

                                                                                                                                13.    Denied.

                                                                                                                                14.    Denied.



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                                                                                                                       II.    JURISDICTION AND VENUE

                                                                                                                                 15.       With respect to the allegations contained in this paragraph,

                                                                                                                              Defendant denies for lack of knowledge and leaves Plaintiff to their proofs.

                                                                                                                              Defendant preserves its affirmative defense of lack of jurisdiction pursuant

                                                                                                                              to Fed. R. Civ. P. 12(b)(1),(2),(3),(4),(5),(6), & (7).

                                                                                                                                 16.     Defendant incorporates its answer to Paragraphs 15 above by

                                                                                                                              reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                 17.     Defendant incorporates its answer to Paragraphs 15 above by

                                                                                                                              reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                       III.   PARTIES
                     ATTORNEYS & COUNSELORS




                                                                                                                              A. Plaintiff

                                                                                                                                 18.       With respect to the allegations contained in this paragraph,

                                                                                                                              Defendant denies for lack of knowledge and leaves Plaintiff to their proofs.

                                                                                                                              B. Defendants

                                                                                                                                       1. The Clinic Defendants

                                                                                                                                              a) The Baydoun Clinics

                                                                                                                                                  (1) Star Pain

                                                                                                                                 19.      With respect to the allegations contained in this paragraph,

                                                                                                                              Defendant denies for lack of knowledge and leaves Plaintiff to their proofs




                                                                                                                                                              -3-
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.747 Filed 11/09/21 Page 4 of 39




                                                                                                                                20.    With respect to the allegations contained in this paragraph,

                                                                                                                             Defendant denies for lack of knowledge and leaves Plaintiff to their proofs

                                                                                                                                21.    With respect to the allegations contained in this paragraph,

                                                                                                                             Defendant denies for lack of knowledge and leaves Plaintiff to their proofs

                                                                                                                                                 (2) NextGen

                                                                                                                                22.    With respect to the allegations contained in this paragraph,

                                                                                                                             Defendant denies for lack of knowledge and leaves Plaintiff to their proofs.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                23.     With respect to the allegations contained in this paragraph,

                                                                                                                             Defendant denies for lack of knowledge and leaves Plaintiff to their proofs.
AT LAW GROUP, PLLC




                                                                                                                                24.     With respect to the allegations contained in this paragraph,
                     ATTORNEYS & COUNSELORS




                                                                                                                             Defendant denies for lack of knowledge and leaves Plaintiff to their proofs.

                                                                                                                                                 (3) Baydoun Successor Clinics

                                                                                                                                25.     With respect to the allegations contained in this paragraph

                                                                                                                             Defendant denies all allegations          directed towards Defendant in this

                                                                                                                             paragraph. Further, Defendant lacks sufficient knowledge or information

                                                                                                                             so as to form a belief as to the truth of the allegations contained in this

                                                                                                                             paragraph as applied to the other defendants named in this action and,

                                                                                                                             therefore, neither admits nor denies those allegation.

                                                                                                                                26.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.



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                                                                                                                                27.      With respect to the allegations contained in this paragraph

                                                                                                                             Defendant makes no answer to the allegations in this paragraph, as these

                                                                                                                             allegations are not directed against this Defendant. However, to the extent

                                                                                                                             a response is required, Defendant lacks sufficient knowledge or

                                                                                                                             information so as to form a belief as to the truth of the allegations contained

                                                                                                                             in this paragraph as applied to the other defendants named in this action

                                                                                                                             and, therefore, neither admits nor denies those allegation.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                28.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                29.     Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                30.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                      2. The Toxicology Companies

                                                                                                                                                 (1) Advanced Central Labs

                                                                                                                                31.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                32.      Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             -5-
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.749 Filed 11/09/21 Page 6 of 39




                                                                                                                                33.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                34.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                35.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                36.    Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                37.    Defendant incorporates its answers to Paragraphs 27 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                38.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                                 (2) Midwest Medical Lab
                                                                                                                                39.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                40.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                41.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.750 Filed 11/09/21 Page 7 of 39




                                                                                                                                42.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                43.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                44.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                                 (3) Future Diagnostic Center
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                45.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                46.    Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                47.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                48.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                49.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                50.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                                51.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                                 (4) Successor Baydoun Toxicology Lab, iNova
                                                                                                                                52.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                53.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                54.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                55.     Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                56.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                      3. The Management Group

                                                                                                                                            a) Sam Hakki

                                                                                                                                57.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                58.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.752 Filed 11/09/21 Page 9 of 39




                                                                                                                                59.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                60.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                61.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            b) Nabil Baydoun
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                62.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                63.    Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                64.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                65.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                66.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                67.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.753 Filed 11/09/21 Page 10 of 39




                                                                                                                                68.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            c) Fouad Baydoun
                                                                                                                                69.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                70.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                71.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                72.    Defendant incorporates its answers to Paragraphs 25 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                73.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                74.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                75.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            d) Abdul Baydoun
                                                                                                                                76.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 10 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.754 Filed 11/09/21 Page 11 of 39




                                                                                                                                77.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                78.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                79.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                80.    Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                81.    Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                82.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            e) Muna Afan

                                                                                                                                83.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                84.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                85.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.755 Filed 11/09/21 Page 12 of 39




                                                                                                                                86.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                87.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                88.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                89.    Defendant incorporates its answers to Paragraphs 25 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                90.    Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                            f) Anwar Baker
                                                                                                                                91.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                92.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                93.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                94.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.756 Filed 11/09/21 Page 13 of 39




                                                                                                                                95.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                96.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                97.     Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                      4. The Lab Director
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                             a) Mohamed El-Fakharany, M.D.

                                                                                                                                98.     Defendant incorporates its answers to Paragraphs 27 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                99.     Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                100. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                      5. The Physicians

                                                                                                                                             a) Riad George Khoury, M.D.

                                                                                                                                101. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                102. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.



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                                                                                                                                103. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                104. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            b) Vinod Sharma, M.D.

                                                                                                                                105.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                106. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                107. Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                108. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            c) Horst Griesser, M.D.
                                                                                                                                109. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                110. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                111. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 14 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.758 Filed 11/09/21 Page 15 of 39




                                                                                                                                112. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                113. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                114. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                115. Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                       IV.   ALLEGATIONS COMMON TO ALL COUNTS
AT LAW GROUP, PLLC




                                                                                                                             A. First-Party Claims for Payment Under the No-Fault Act
                     ATTORNEYS & COUNSELORS




                                                                                                                                116. With respect to the allegations contained in this paragraph, MCL

                                                                                                                             500.3105, 3107 speak for themselves and require no response. However,

                                                                                                                             to the extent a response is required, it is denied.

                                                                                                                                117.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                118. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                119. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                             B. Third-Party Tort Claims for Non-Economic Loss Under the No-
                                                                                                                                Fault Act

                                                                                                                                120. With respect to the allegations contained in this paragraph, MCL

                                                                                                                             500.3135 speak for themselves and require no response. However, to the

                                                                                                                             extent a response is required, it is denied.

                                                                                                                                121. This paragraph contains conclusions of law, to which no answer

                                                                                                                             is required. However, to the extent a response is required, it is denied.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                122. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                             C. Legitimate Use of Urine Drug Tests (UDTs)
                     ATTORNEYS & COUNSELORS




                                                                                                                                123. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                124. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                125. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                126. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                127. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.




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                                                                                                                                128. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                129. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                130. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                             D. Federal Law Governing Laboratories That Perform
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                Confirmatory UDTs

                                                                                                                                131. This paragraph contains statements of the case and conclusions
AT LAW GROUP, PLLC




                                                                                                                             of law, to which no answer is required.
                     ATTORNEYS & COUNSELORS




                                                                                                                                132. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                133. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                134. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                135. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                                136. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required.

                                                                                                                             E. The Background and Evolution of the Scheme

                                                                                                                                                             - 17 -
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                                                                                                                                1. Hakki Forms Computerized Joint, Mini Invasive, and Begins
                                                                                                                                   Funneling Patients to Advanced Central Labs for UDTs to
                                                                                                                                   Maximize His Profits.

                                                                                                                                137. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                138. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                139. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                140. Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                141. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                142. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                143. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                144. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                145. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                                             - 18 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.762 Filed 11/09/21 Page 19 of 39




                                                                                                                                146. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                147. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                148. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                149. Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                2. Hakki Connects The Baydouns and Their Clinics to Advanced
AT LAW GROUP, PLLC




                                                                                                                                   Central Labs
                     ATTORNEYS & COUNSELORS




                                                                                                                                150.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                151.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                152. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                153. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                154. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 19 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.763 Filed 11/09/21 Page 20 of 39




                                                                                                                                155. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                156.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                157. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                158. Defendant incorporates its answers to Paragraphs 25 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                159. Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                160.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                161.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                162. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                163. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                164. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 20 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.764 Filed 11/09/21 Page 21 of 39




                                                                                                                                165.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                166. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                3. After Advanced Central Labs Fails its CLIA Inspection and Is
                                                                                                                                   Sued by Allstate, the Management Group Opens MML To
                                                                                                                                   Take Over for Advanced Central Labs

                                                                                                                                167. Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                168. Defendant incorporates its answers to Paragraphs 27 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                169. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                170. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                171. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                172. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                173. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 21 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.765 Filed 11/09/21 Page 22 of 39




                                                                                                                                174. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                175. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                176. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                177. Defendant incorporates its answers to Paragraphs 25 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                178. Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                4. After MML Is Scrutinized by the Department of Health and its
                                                                                                                                   CLIA Certification is Deactivated, the Management Group
                                                                                                                                   Opens Yet Another New Lab, Future Diagnostics, to Take
                                                                                                                                   Over MML.

                                                                                                                                179.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                180. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                181. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                182. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                                             - 22 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.766 Filed 11/09/21 Page 23 of 39




                                                                                                                                183. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                184. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                185. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                186. Defendant incorporates its answers to Paragraphs 25 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                187. Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                188.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                189. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                190. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                191. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                192. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 23 -
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                                                                                                                                193. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                5. Defendants’ Fraudulent Referrals For UDTs.

                                                                                                                                194.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                195. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                196. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                         a) Defendants Refer Patients For UDTs As A Matter of
                     ATTORNEYS & COUNSELORS




                                                                                                                                            Course to Maximize Profits.
                                                                                                                                197. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                198. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                199. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                200. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                201. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 24 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.768 Filed 11/09/21 Page 25 of 39




                                                                                                                                202. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            b) Defendants Order Presumptive and Confirmatory
                                                                                                                                               UDTs Simultaneously To Maximize Profits

                                                                                                                                203. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                204. Defendant incorporates its answers to Paragraphs 27 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                205. Defendant incorporates its answers to Paragraphs 27 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                206. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                207. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            c) Defendants Order Unreasonably Extensive
                                                                                                                                               Confirmatory Panels To Maximize Profits

                                                                                                                                208. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                209. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 25 -
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                                                                                                                                210. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                211. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                           d) Defendants Ignore Physiologically Impossible UDT
                                                                                                                                              Results
                                                                                                                                212.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                213. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                214. Defendant incorporates its answers to Paragraphs 27 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                215. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                216. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                217. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                218.    Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 26 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.770 Filed 11/09/21 Page 27 of 39




                                                                                                                                219. Defendant incorporates its answers to Paragraphs 27 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                           e) Defendants Ignore Red Flags That Could Implicate
                                                                                                                                              Patient Care and Safety
                                                                                                                                220.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                221. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                222. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                223. Defendant incorporates its answers to Paragraphs 25 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                224. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                225.    Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                226. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                227. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 27 -
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                                                                                                                                228. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                            f) Defendants’ Duplicative Billing For Presumptive
                                                                                                                                               UDTs

                                                                                                                                229. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                230. Defendant incorporates its answers to Paragraphs 25 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                231. Defendant incorporates its answers to Paragraphs 25 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                                232. Defendant incorporates its answers to Paragraphs 25 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                             F. State Farm Mutual’s Justifiable Reliance

                                                                                                                                233. This paragraph contains statements of the case and conclusions

                                                                                                                             of law, to which no answer is required. To the extent that an answer is

                                                                                                                             required, Defendant denies all allegations directed towards Defendant in

                                                                                                                             this paragraph. Further, to the extent that an answer is found to be required,

                                                                                                                             Defendant lacks sufficient knowledge or information so as to form a belief

                                                                                                                             as to the truth of the allegations contained in this paragraph as applied to

                                                                                                                             the other defendants named in this action and, therefore, neither admits nor

                                                                                                                             denies those allegation.

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                                                                                                                                234. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                235. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                236. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                       V.    CAUSES OF ACTION
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                                  FIRST CAUSE OF ACTION
                                                                                                                                               VIOLATION OF 18 U.S.C §1962 (c)
                                                                                                                                                    (Against All Defendants)
AT LAW GROUP, PLLC




                                                                                                                                237. No response required.
                     ATTORNEYS & COUNSELORS




                                                                                                                                238. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                239. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                240. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                241. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                242. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.



                                                                                                                                                             - 29 -
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                                                                                                                                 243. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 244. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                          WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be

                                                                                                                    dismissed in its entirety with prejudice, that judgment be entered for Defendant and

                                                                                                                    the Court grant such further relief to Defendant as it deems proper.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                                 SECOND CAUSE OF ACTION
                                                                                                                                               VIOLATION OF 18 U.S.C §1962 (d)
                                                                                                                                                   (Against All Defendants)
AT LAW GROUP, PLLC




                                                                                                                                 245. No response required.
                     ATTORNEYS & COUNSELORS




                                                                                                                                 246. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 247. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 248. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 249. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.




                                                                                                                                                             - 30 -
                                                                                                                    Case 2:21-cv-11940-DPH-APP ECF No. 42, PageID.774 Filed 11/09/21 Page 31 of 39




                                                                                                                          WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be

                                                                                                                    dismissed in its entirety with prejudice, that judgment be entered for Defendant and

                                                                                                                    the Court grant such further relief to Defendant as it deems proper.


                                                                                                                                                   THIRD CAUSE OF ACTION
                                                                                                                                                    COMMON LAW FRAUD
                                                                                                                                                     (Against All Defendants)

                                                                                                                                 250. No response is required.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                                 251. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.
AT LAW GROUP, PLLC




                                                                                                                                 252. Defendant incorporates its answers to Paragraphs 233 above by
                     ATTORNEYS & COUNSELORS




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 253. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 254. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 255. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                          WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be

                                                                                                                    dismissed in its entirety with prejudice, that judgment be entered for Defendant and

                                                                                                                    the Court grant such further relief to Defendant as it deems proper.




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                                                                                                                                                  FOURTH CAUSE OF ACTION
                                                                                                                                                    UNJUST ENRICHMENT
                                                                                                                                                    (Against All Defendants)

                                                                                                                                 256. No response required.

                                                                                                                                 257. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 258. Defendant incorporates its answers to Paragraphs 233 above by
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 259. Defendant incorporates its answers to Paragraphs 233 above by
AT LAW GROUP, PLLC




                                                                                                                             reference as if set forth fully herein.
                     ATTORNEYS & COUNSELORS




                                                                                                                          WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be

                                                                                                                    dismissed in its entirety with prejudice, that judgment be entered for Defendant and

                                                                                                                    the Court grant such further relief to Defendant as it deems proper.

                                                                                                                                            FIFTH CAUSE OF ACTION
                                                                                                                                    DECLARATORY JUDGMENT UNDER 28 U.S.C § 2201
                                                                                                                                            (Against the Controlled Labs)

                                                                                                                                 260. No response is required.

                                                                                                                                 261. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 262. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.




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                                                                                                                                 263. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 264. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                                 265. Defendant incorporates its answers to Paragraphs 233 above by

                                                                                                                             reference as if set forth fully herein.

                                                                                                                          WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                    dismissed in its entirety with prejudice, that judgment be entered for Defendant and

                                                                                                                    the Court grant such further relief to Defendant as it deems proper.
AT LAW GROUP, PLLC




                                                                                                                                                                      Respectfully Submitted,
                     ATTORNEYS & COUNSELORS




                                                                                                                                                                            /s/ Dewnya A. Bazzi
                                                                                                                                                                            __________________________
                                                                                                                                                                            Dewnya A. Bazzi (P75310)
                                                                                                                                                                            Attorney for Defendant
                                                                                                                                                                            3 Parklane Blvd, West Tower,
                                                                                                                                                                            Ste 1500
                                                                                                                                                                            Dearborn, MI 48126
                                                                                                                                                                            (313) 406-7606
                                                                                                                                                                            db@atlawgroup.com

                                                                                                                       Dated: November 9, 2021




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                                                                                                                                              AFFIRMATIVE DEFENSES

                                                                                                                          NOW COMES Defendant MIDWEST MEDICAL LAB LLC (the

                                                                                                                    “Defendant”), by and through its attorneys, AT LAW GROUP, PLLC, specifically

                                                                                                                    by Dewnya A. Bazzi, and for its Affirmative Defenses states as follows:

                                                                                                                             1. By way of first affirmative defense, Defendant pleads accord and

                                                                                                                          satisfaction.

                                                                                                                             2. By way of second affirmative defense, Defendant pleads duress.
                                              3 PARK LN BLVD STE 1500 WEST, DEARBORN, MICHIGAN 48126 313-406-7606




                                                                                                                             3. By way of third affirmative defense, Defendant pleads payment.

                                                                                                                             4. By way of fourth affirmative defense, Defendant pleads release.
AT LAW GROUP, PLLC




                                                                                                                             5. By way of fifth affirmative defense, Defendant pleads res judicata.
                     ATTORNEYS & COUNSELORS




                                                                                                                             6. By way of six affirmative defense, Defendant pleads that statute of

                                                                                                                          limitations bar Plaintiff’s claims.

                                                                                                                             7. By way of seventh affirmative defense, Defendant pleads judicial

                                                                                                                          estoppel.

                                                                                                                             8. By way of eighth affirmative defense, Defendant pleads estoppel by

                                                                                                                          contract.

                                                                                                                             9. By way of ninth affirmative defense, Defendant pleads quasi-estoppel.

                                                                                                                             10. By way of tenth affirmative defense, Defendant pleads that the claims

                                                                                                                          asserted by Plaintiffs are barred, in whole or in part, because the conduct of

                                                                                                                          parties not named of which Defendant had no knowledge or information was



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                                                                                                                          the sole proximate cause, superseding and or intervening causes of the

                                                                                                                          damages alleged by Plaintiff.

                                                                                                                             11. By way of twelfth affirmative defense, Defendant pleads that Plaintiff

                                                                                                                          lacks standing to bring a RICO cause of action.

                                                                                                                             12. By way of thirteenth affirmative defense, Defendant pleads that

                                                                                                                          Plaintiff has failed to properly plead proximate cause sufficient to maintain a

                                                                                                                          RICO cause of action.
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                                                                                                                             13. By way of fourteenth affirmative defense, Defendant pleads that

                                                                                                                          Plaintiff has failed to properly comply with Fed. R. Civ. P. 9(b) in failing to
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                                                                                                                          plead such with the required specificity. See Slaney v. Int’l Amateur, 244 F.3d
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                                                                                                                          580, 599 (7th Cir. 2001) .

                                                                                                                             14. By way of fifteenth affirmative defense, Defendant pleads lack of

                                                                                                                          subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

                                                                                                                             15. By way of sixteenth affirmative defense, Defendant pleads lack of

                                                                                                                          personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2).

                                                                                                                             16. By way of seventeenth affirmative defense, Defendant pleads improper

                                                                                                                          venue pursuant to Fed. R. Civ. P. 12(b)(3).

                                                                                                                             17. By way of eighteenth affirmative defense, Defendant pleads

                                                                                                                          insufficient process pursuant to Fed. R. Civ. P. 12(b)(4).

                                                                                                                             18. By way of nineteenth affirmative defense, Defendant pleads



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                                                                                                                          insufficient service of process pursuant to Fed. R. Civ. P. 12(b)(5).

                                                                                                                             19. By way of twentieth affirmative defense, Defendant pleads failure to

                                                                                                                          state a claim upon which relief can be granted pursuant to Fed. R. Civ. P.

                                                                                                                          12(b)(6) as to Plaintiff’s First Cause of Action, Second Cause of Action, Third

                                                                                                                          Cause of Action, Fourth Cause of Action, and Fifth Cause of Action.

                                                                                                                             20. By way of twenty-first affirmative defense, Defendant pleads that his

                                                                                                                          inclusion in this above plead cause of action are without merit as he has failed
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                                                                                                                          to engage in “conduct” as defined by the RICO Act.

                                                                                                                             21. By way of the twenty-second affirmative defense, Defendant pleads
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                                                                                                                          that his inclusion in the above plead causes of action are without merit as he
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                                                                                                                          has failed to qualify as “part of an enterprise” as defined by the RICO Act.

                                                                                                                             22. By way of the twenty-third affirmative defense, Defendant pleads that

                                                                                                                          his inclusion in the above plead causes of action are without merit as Plaintiff

                                                                                                                          has failed to properly plead with sufficient particularity that he engaged in

                                                                                                                          sufficient “pattern” as defined by the RICO Act.




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                                                                                                                                                                   Respectfully Submitted,

                                                                                                                                                                   /s/ Dewnya A. Bazzi
                                                                                                                                                                   __________________________
                                                                                                                                                                   Dewnya A. Bazzi (P75310)
                                                                                                                                                                   Attorney for Defendant
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                                                                                                                                                                   Ste 1500
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                                                                                                                                                                   db@atlawgroup.com
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                                                                                                                       Dated: November 9, 2021
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                                                                                                                                             RELIANCE UPON JURY DEMAND

                                                                                                                       Defendant hereby relies upon the Jury Demand made by Plaintiff pursuant to Fed. R.
                                                                                                                    Civ. P. 38(b).


                                                                                                                                                                    Respectfully Submitted,

                                                                                                                                                                    /s/ Dewnya A. Bazzi
                                                                                                                                                                    __________________________
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                                                                                                                                             CERTIFICATE OF SERVICE

                                                                                                                    The undersigned certifies that the foregoing document along with a Certificate of
                                                                                                                    Service was electronically filed on November 9, 2021 with the Court’s e-filing
                                                                                                                    system, which will send notification of such filing to all attorneys of record.



                                                                                                                                                                       Respectfully Submitted,

                                                                                                                                                                       /s/ Dewnya A. Bazzi
                                                                                                                                                                       __________________________
                                                                                                                                                                       Dewnya A. Bazzi (P75310)
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                                                                                                                       Dated: November 9, 2021




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